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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE, et al.,                       )
                                           )
      Plaintiffs,                          )
                                           )
v.                                         )         Case No. 2:22-cv-184-LCB
                                           )
STEVE MARSHALL, et al.,                    )
                                           )
      Defendants.                          )

                    FIRST AMENDED SCHEDULING ORDER

      For good cause shown under Federal Rule of Civil Procedure 16(b)(4), the

Court GRANTS the parties’ joint motion for extension of time (Doc. 197) and

AMENDS the scheduling order (Doc. 135) as follows:

      Discovery Cutoff: All discovery must be commenced in time to be completed

by June 9, 2023.

      Dispositive Motions: All potentially dispositive motions, including Daubert

motions, must be filed by July 14, 2023.

      Expert Testimony: Unless modified by court order for good cause shown,

the disclosures of expert witnesses—including a complete report under

Fed.R.Civ.P. 26(a)(2)(B) from any specially retained or employed expert—are due:

            From plaintiffs by January 23, 2023.

            From defendants by March 20, 2023.
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      Final Lists: Lists of trial witnesses and exhibits must be filed by

September 12, 2023. Any objections to such lists, including objections under Federal

Rule of Civil Procedure 26(a)(3), must be filed within fourteen days thereafter.

      Trial: The parties shall be ready for trial by October 2023.

      All other requirements of the initial Scheduling Order remain in effect.

      DONE and ORDERED November 8, 2022.



                                   _________________________________
                                   LILES C. BURKE
                                   UNITED STATES DISTRICT JUDGE




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